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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §         CAUSE NO: 1:21-CR-00203-LY-1
 VS.                                            §
                                                §
 RYAN TAYLOR FAIRCLOTH                          §

                               SENTENCING MEMORANDUM

TO THE HONORABLE LEE YEAKEL. UNITED STATES DISTRICT JUDGE FOR THE
WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION:

       Now comes Defendant, RYAN TAYLOR FAIRCLOTH, by and through his undersigned

counsel, and would like to present information to this Honorable Court pursuant to 18 U.S.C. §

3553 to assist the Court in determining an appropriate sentence.

                                                 I.

       Although Defendant believes that Probation Officer Marquez provided substantial

information to this Honorable Court particularly with respect to his education and vocational

training and family data in the Pre-Sentence Investigation Report, he would like to offer some

supplemental information to assist this Honorable Court. Attached please find three letters of

reference from his counselor, Raquel C. Pace, see Exhibit A; his grandfather, Albert G. Martinez,

see Exhibit B; and his biological father, Rene A. Mendoza, see Exhibit C.

                                                II.

       Raquel C. Pace, M.Ed., LPC writes that Mr. Faircloth has been attending counseling

services since March 25, 2022. Mr. Faircloth’s counseling services address family relationship

building, behavioral issues, and drug and alcohol counseling. She states that Mr. Faircloth has been

attending his counseling services on a weekly basis, is always prompt to his appointments, and is

fully engaged in his sessions. Further, Counselor Pace writes that Mr. Faircloth exhibits polite,

courteous, and respectful behavior during his sessions.
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                                                 III.

        Alberto G. Martinez writes that Mr. Faircloth is a respectable young man who has been

able to launch a sucessful business and become well-known in the San Antonio area. He believes

that Mr. Faircloth was strongly influenced by the political events from the last presidential election

because he is not known for acting out in this manner. He further believes that Mr. Faircloth will

accept the consequences of his actions and will learn from them.

                                                 IV.

        Mr. Faircloth's final letter of support is from his biological father, Rene A. Mendoza, who

writes to tell this Honorable Court that Mr. Faircloth has always been active in the sports and

involved in the community throughout his upbringing, including being an alter boy for his church

and school. He writes that Mr. Faircloth is an avid animal lover and goes out of his way to rescue

stray animals and reunites them with their owners. Mr. Faircloth has been helping him with his

new business and is thankful for being able catch up on so much time that he and Mr. Faircloth

have missed out on. He writes that his family, including his two teenage daughters, are distraught

that Mr. Faircloth will be sent to prison because he is a very big piece of their lives and happiness.

Further, he requests that Mr. Faircloth be allowed to continue with his rehabilitation. He believes

that Mr. Faircloth is sorry for his actions and will benefit from the support from his family and

friends in his rehabilitation.

                                                 V.

        Mr. Faircloth worked as a bartender without advanced degrees or certifications. If this

Honorable Court would be willing to recommend him for educational training, Mr. Faircloth

would appreciate it and apply himself to be a productive and contributing member of society upon

completion of his sentence.
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                                               VI.

       Mr. Faircloth has taken responsibility for this charge once all legal discovery was provided

for review and inspection. Mr. Faircloth knows that what he did is wrong and is willing to accept

the consequences of his actions.

                                               VII.

       Mr. Faircloth has fully complied with his conditions of release and has not had any

violations.

                                              VIII.

       Mr. Faircloth acknowledges a substance abuse problem and is amenable to treatment

should this Honorable Court recommend it.

                                               IX.

       Furthermore, Mr. Faircloth requests the Court recommend to the Bureau of Prisons that

he may be sentenced to the La Tuna Facility located in El Paso, Texas.

       WHEREFORE, PREMISES CONSIDERED, for all of the foregoing reasons

Defendant, RYAN TAYLOR FAIRCLOTH, respectfully prays that this Honorable Court entertain

leniency in the assessment of his sentence, recommend educational training, substance abuse

treatment, and sentencing at the La Tuna Facility located in El Paso, Texas to allow him the

opportunity to succeed on his rehabilitation while simultaneously paying the penance this offense

deserves.

                                             Respectfully submitted,

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                                             By: /s/ SHAWN C. BROWN
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                                CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the foregoing Motion for Continuance was

electronically filed with the Clerk of this Honorable Court using the CM/ECF system which will

send notification electronically to G. KARTHIK SRINIVASAN and MICHAEL GALDO Assistant

United States Attorneys.

                                            /s/ SHAWN C. BROWN
                                            SHAWN C. BROWN
